Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 1 of 33




                   EXHIBIT 3
     Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 2 of 33




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
 PURYEAR, KATHY KENNEDY,                    §
 REBECCA JONES, RICHARD DAY,                §
 CYNTHIA WARING, AND DIANE                  §
 MOSTER,                                    §
                                            §
    Plaintiffs,                             §
                                            §
            v.                              §
                                            §
 LLANO COUNTY, RON CUNNINGHAM, §
 in his official capacity as Llano County   §
 Judge, JERRY DON MOSS, in his official §
 capacity as Llano County Commissioner,     §
 PETER JONES, in his official capacity as   §
 Llano County Commissioner, MIKE            §
 SANDOVAL, in his official capacity as      §
 Llano County Commissioner, LINDA           §
 RASCHKE, in her official capacity as Llano §
 County Commissioner, AMBER MILUM, §
 in her official capacity as Llano County   §
 Library System Director, BONNIE            §
 WALLACE, in her official capacity as       §
 Llano County Library Board Member,         §
 ROCHELLE WELLS, in her official            §
 capacity as Llano County Library Board     §
 Member, RHONDA SCHNEIDER, in her           §
 official capacity as Llano County Library  §
 Board Member, and GAY BASKIN, in her §
 official capacity as Llano County Library  §
 Board Member,                              §
                                            §
    Defendants.                             §



PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT LLANO COUNTY,
                            SET ONE
           Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 3 of 33




          PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

          RESPONDING PARTY:            Defendant Llano County

          SET NUMBER:                   One (1)

          Pursuant to Fed. R. Civ. P. 34, Plaintiffs hereby demand production for inspection,

photographing, and copying of the documents and tangible things described in the categories

below at the law offices of BraunHagey & Borden LLP, 351 California Street, 10th Floor, San

Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street, Austin, Texas 78701,

within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for Expedited Discovery.

          These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Llano County, or

anyone representing the interests of Llano County, becomes aware of any additional information,

documents, or things sought by these requests between the time Llano County responds and trial.

                                           DEFINITIONS

          1.     The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

          2.     The terms “YOU,” “YOUR,” and “LLANO COUNTY” refer, collectively and

individually, to Llano County and its officers, directors, principals, partners, employees, agents,
representatives, consultants, attorneys, and any other persons acting under its control or on its

behalf.

          3.     The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.

          4.     The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

                                                  1
         Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 4 of 33




Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the LIBRARY SYSTEM’s previous

electronic collection of digital materials, including ebooks, audiobooks, movies, and research

databases.

       7.      The term “KRAUSE LIST” refers to the list of books compiled and published by

Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,
teen pregnancy, violence, or LGBTQ issues.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “RESTRICT” or “RESTRICTED” refers to MATERIALS that have

been or will be moved from one library section to another or moved from their original location

to behind the front desk or any other place not readily accessible to the public.

       12.     The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

                                                  2
         Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 5 of 33




in the form of emails, messages, chat logs, letters, envelopes, telegrams, social media posts, or

otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now

in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,
proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

                                                   3
         Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 6 of 33




       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

       18.     Unless otherwise noted, these Requests seek responsive documents in the time

period of June 2021 to present.

                                         INSTRUCTIONS
       1.      The following inspection demands seek production for inspection and copying of

all responsive DOCUMENTS in YOUR possession, custody, or control, wherever located, and

specifically includes all DOCUMENTS in the possession, custody, or control of your officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys,

accountants, investigators, and representatives.

       2.      Any non-identical copy of a DOCUMENT, including copies with notes,
highlighting, comments, or marginalia of any nature, and drafts, must be identified and produced

as a separate DOCUMENT.

       3.      If there are no DOCUMENTS responsive to a category in this inspection demand,

please state so in writing.

       4.      For each DOCUMENT that YOU decline to make available for inspection and

copying on the grounds of privilege or the attorney work product rule, provide the following

information:

               a.      State the date on which the DOCUMENT was created;

               b.      State the title of the DOCUMENT;

                                                   4
         Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 7 of 33




               c.      Briefly describe the nature and contents of the DOCUMENT;

               d.      IDENTIFY each person or entity that received a copy of the DOCUMENT

                       or to whom the DOCUMENT or its contents were disclosed;

               e.      IDENTIFY the privilege or rule that YOU contend protects the

                       DOCUMENT from disclosure; and

               f.      IDENTIFY each fact on which YOU base YOUR contention that the

                       privilege or rule identified in YOUR response applies.

       5.      If any material is redacted from a DOCUMENT, indicate that in the response to

the inspection demand and state the basis for each redaction.

       6.      Please produce the original of each DOCUMENT and all its copies, if any copy is

other than identical to the original, in the order called for in the categories listed below.

       7.      If, for any reason, any of the DOCUMENTS, objects, or tangible things to be

produced pursuant to these inspection demands has been destroyed, lost, or otherwise disposed

of, state for each category the following information:

               a.      A description of the DOCUMENT, object, or tangible thing to be

                       produced. If the destroyed, lost or otherwise disposed of item is a

                       DOCUMENT, IDENTIFY the DOCUMENT by date, drafter, recipient,

                       and subject matter.
               b.      The date the DOCUMENT, object or tangible thing was lost, destroyed, or

                       disposed of.

               c.      All PERSONS who have knowledge of the loss, destruction, or disposal.

               d.      If the loss, destruction, or disposal related to an object or tangible thing,

                       IDENTIFY all DOCUMENTS that relate or refer to the loss, destruction,

                       or disposal.

       8.      Produce DOCUMENTS in their native format where applicable.




                                                   5
           Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 8 of 33




       9.      If a DOCUMENT is responsive to a request for production and is in YOUR

control, but not in YOUR possession or custody, IDENTIFY all PERSONS with possession or

custody.

                             REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       All DOCUMENTS and COMMUNICATIONS RELATED TO any MATERIALS

currently or previously in the LIBRARY SYSTEM that allegedly contain INAPPROPRIATE

CONTENT.

REQUEST FOR PRODUCTION NO. 2:

       All DOCUMENTS and COMMUNICATIONS RELATED TO closing LIBRARY

BOARD meetings to the public.

REQUEST FOR PRODUCTION NO. 3:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the suspension and/or

termination of OVERDRIVE and YOUR consideration of other digital ebook and audiobook

platforms or collections.

REQUEST FOR PRODUCTION NO. 4:

       All DOCUMENTS SUFFICIENT to identify and COMMUNICATIONS RELATED TO

all MATERIALS that have been RESTRICTED or removed from the LIBRARY SYSTEM’s
public locations on the basis of INAPPROPRIATE CONTENT, including all DOCMENTS and

COMMUNICATIONS RELATED TO the KRAUSE LIST.

REQUEST FOR PRODUCTION NO. 5:

       All COMMUNICATIONS identifying and DOCUMENTS SUFFICIENT to identify all

MATERIALS that the LIBRARY BOARD intends or plans to RESTRICT or remove from the

LIBRARY SYSTEM in the future on the basis of INAPPROPRIATE CONTENT.

REQUEST FOR PRODUCTION NO. 6:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the criteria, policies,

and/or procedures applied by the LIBRARY BOARD and the COLLECTION REVIEW

                                             6
       Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 9 of 33




COMMITTEE in determining which MATERIALS to RESTRICT or remove from the

LIBRARY SYSTEM.




Dated: May 11, 2022                        BRAUNHAGEY & BORDEN LLP


                                           By:    /DRAFT/
                                                  Ellen V. Leonida

                                           Attorneys for Plaintiffs




                                       7
      Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 10 of 33




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

  LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
  PURYEAR, KATHY KENNEDY,                    §
  REBECCA JONES, RICHARD DAY,                §
  CYNTHIA WARING, AND DIANE                  §
  MOSTER,                                    §
                                             §
     Plaintiffs,                             §
                                             §
             v.                              §
                                             §
  LLANO COUNTY, RON CUNNINGHAM, §
  in his official capacity as Llano County   §
  Judge, JERRY DON MOSS, in his official §
  capacity as Llano County Commissioner,     §
  PETER JONES, in his official capacity as   §
  Llano County Commissioner, MIKE            §
  SANDOVAL, in his official capacity as      §
  Llano County Commissioner, LINDA           §
  RASCHKE, in her official capacity as Llano §
  County Commissioner, AMBER MILUM, §
  in her official capacity as Llano County   §
  Library System Director, BONNIE            §
  WALLACE, in her official capacity as       §
  Llano County Library Board Member,         §
  ROCHELLE WELLS, in her official            §
  capacity as Llano County Library Board     §
  Member, RHONDA SCHNEIDER, in her           §
  official capacity as Llano County Library  §
  Board Member, and GAY BASKIN, in her §
  official capacity as Llano County Library  §
  Board Member,                              §
                                             §
     Defendants.                             §



PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT JERRY DON MOSS,
                             SET ONE
          Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 11 of 33




          PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

          RESPONDING PARTY:            Defendant Jerry Don Moss

          SET NUMBER:                   One (1)

          Pursuant to Fed. R. Civ. P. 34, Plaintiffs hereby demand production for inspection,

photographing, and copying of the documents and tangible things described in the categories

below at the law offices of BraunHagey & Borden LLP, 351 California Street, 10th Floor, San

Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street, Austin, Texas 78701,

within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for Expedited Discovery.

          These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Defendant Jerry Don

Moss (“Defendant” or “JDM”), or anyone representing the interests of JDM, becomes aware of

any additional information, documents, or things sought by these requests between the time JDM

responds and trial.

                                           DEFINITIONS

          1.     The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

          2.     The terms “YOU,” “YOUR,” and “JDM” refer, collectively and individually, to
Jerry Don Moss and his officers, directors, principals, partners, employees, agents,

representatives, consultants, attorneys, and any other persons acting under his control or on his

behalf.

          3.     The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.



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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 12 of 33




       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the LIBRARY SYSTEM’s previous

electronic collection of digital materials, including ebooks, audiobooks, movies, and research

databases.

       7.      The term “KRAUSE LIST” refers to the list of books compiled and published by

Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      The term “INAPPROPRIATE CONTENT” refers to material that
DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,

teen pregnancy, violence, or LGBTQ issues.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “RESTRICT” or “RESTRICTED” refers to MATERIALS that have

been or will be moved from one library section to another or moved from their original location

to behind the front desk or any other place not readily accessible to the public.

                                                  2
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 13 of 33




       12.       The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now
in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,

proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

                                                   3
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 14 of 33




name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

       18.     Unless otherwise noted, these Requests seek responsive documents in the time

period of June 2021 to present.

                                         INSTRUCTIONS
       1.      The following inspection demands seek production for inspection and copying of

all responsive DOCUMENTS in YOUR possession, custody, or control, wherever located, and

specifically includes all DOCUMENTS in the possession, custody, or control of your officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys,
accountants, investigators, and representatives.

       2.      Any non-identical copy of a DOCUMENT, including copies with notes,

highlighting, comments, or marginalia of any nature, and drafts, must be identified and produced

as a separate DOCUMENT.

       3.      If there are no DOCUMENTS responsive to a category in this inspection demand,

please state so in writing.

       4.      For each DOCUMENT that YOU decline to make available for inspection and

copying on the grounds of privilege or the attorney work product rule, provide the following

information:

                                                   4
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 15 of 33




               a.      State the date on which the DOCUMENT was created;

               b.      State the title of the DOCUMENT;

               c.      Briefly describe the nature and contents of the DOCUMENT;

               d.      IDENTIFY each person or entity that received a copy of the DOCUMENT

                       or to whom the DOCUMENT or its contents were disclosed;

               e.      IDENTIFY the privilege or rule that YOU contend protects the

                       DOCUMENT from disclosure; and

               f.      IDENTIFY each fact on which YOU base YOUR contention that the

                       privilege or rule identified in YOUR response applies.

       5.      If any material is redacted from a DOCUMENT, indicate that in the response to

the inspection demand and state the basis for each redaction.

       6.      Please produce the original of each DOCUMENT and all its copies, if any copy is

other than identical to the original, in the order called for in the categories listed below.

       7.      If, for any reason, any of the DOCUMENTS, objects, or tangible things to be

produced pursuant to these inspection demands has been destroyed, lost, or otherwise disposed

of, state for each category the following information:

               a.      A description of the DOCUMENT, object, or tangible thing to be

                       produced. If the destroyed, lost or otherwise disposed of item is a
                       DOCUMENT, IDENTIFY the DOCUMENT by date, drafter, recipient,

                       and subject matter.

               b.      The date the DOCUMENT, object or tangible thing was lost, destroyed, or

                       disposed of.

               c.      All PERSONS who have knowledge of the loss, destruction, or disposal.

               d.      If the loss, destruction, or disposal related to an object or tangible thing,

                       IDENTIFY all DOCUMENTS that relate or refer to the loss, destruction,

                       or disposal.

       8.      Produce DOCUMENTS in their native format where applicable.

                                                   5
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 16 of 33




       9.      If a DOCUMENT is responsive to a request for production and is in YOUR

control, but not in YOUR possession or custody, IDENTIFY all PERSONS with possession or

custody.

                             REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       All DOCUMENTS and COMMUNICATIONS RELATED TO any MATERIALS

currently or previously in the LIBRARY SYSTEM that allegedly contain INAPPROPRIATE

CONTENT.

REQUEST FOR PRODUCTION NO. 2:

       All DOCUMENTS and COMMUNICATIONS RELATED TO closing LIBRARY

BOARD meetings to the public.

REQUEST FOR PRODUCTION NO. 3:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the suspension and/or

termination of OVERDRIVE and YOUR consideration of other digital ebook and audiobook

platforms or collections.

REQUEST FOR PRODUCTION NO. 4:

       All DOCUMENTS SUFFICIENT to identify and COMMUNICATIONS RELATED TO

all MATERIALS that have been RESTRICTED or removed from the LIBRARY SYSTEM’s
public locations on the basis of INAPPROPRIATE CONTENT, including all DOCMENTS and

COMMUNICATIONS RELATED TO the KRAUSE LIST.

REQUEST FOR PRODUCTION NO. 5:

       All COMMUNICATIONS identifying and DOCUMENTS SUFFICIENT to identify all

MATERIALS that the LIBRARY BOARD intends or plans to RESTRICT or remove from the

LIBRARY SYSTEM in the future on the basis of INAPPROPRIATE CONTENT.

REQUEST FOR PRODUCTION NO. 6:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the criteria, policies,

and/or procedures applied by the LIBRARY BOARD and the COLLECTION REVIEW

                                             6
      Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 17 of 33




COMMITTEE in determining which MATERIALS to RESTRICT or remove from the

LIBRARY SYSTEM.



Dated: May 11, 2022                        BRAUNHAGEY & BORDEN LLP


                                           By:    /DRAFT/
                                                  Ellen V. Leonida

                                           Attorneys for Plaintiffs




                                       7
     Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 18 of 33




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
 PURYEAR, KATHY KENNEDY,                    §
 REBECCA JONES, RICHARD DAY,                §
 CYNTHIA WARING, AND DIANE                  §
 MOSTER,                                    §
                                            §
    Plaintiffs,                             §
                                            §
            v.                              §
                                            §
 LLANO COUNTY, RON CUNNINGHAM, §
 in his official capacity as Llano County   §
 Judge, JERRY DON MOSS, in his official §
 capacity as Llano County Commissioner,     §
 PETER JONES, in his official capacity as   §
 Llano County Commissioner, MIKE            §
 SANDOVAL, in his official capacity as      §
 Llano County Commissioner, LINDA           §
 RASCHKE, in her official capacity as Llano §
 County Commissioner, AMBER MILUM, §
 in her official capacity as Llano County   §
 Library System Director, BONNIE            §
 WALLACE, in her official capacity as       §
 Llano County Library Board Member,         §
 ROCHELLE WELLS, in her official            §
 capacity as Llano County Library Board     §
 Member, RHONDA SCHNEIDER, in her           §
 official capacity as Llano County Library  §
 Board Member, and GAY BASKIN, in her §
 official capacity as Llano County Library  §
 Board Member,                              §
                                            §
    Defendants.                             §



PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT AMBER MILUM,
                            SET ONE
          Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 19 of 33




       PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

       RESPONDING PARTY:              Defendant Amber Milum

       SET NUMBER:                    One (1)

       Pursuant to Fed. R. Civ. P. 34, Plaintiffs hereby demand production for inspection,

photographing, and copying of the documents and tangible things described in the categories

below at the law offices of BraunHagey & Borden LLP, 351 California Street, 10th Floor, San

Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street, Austin, Texas 78701,

within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for Expedited Discovery.

       These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Defendant Amber

Milum (“Defendant” or “Ms. Milum”), or anyone representing the interests of Ms. Milum,

becomes aware of any additional information, documents, or things sought by these requests

between the time Ms. Milum responds and trial.

                                         DEFINITIONS

       1.      The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

       2.      The terms “YOU” and “YOUR” refer, collectively and individually, to Amber
Milum and her officers, directors, principals, partners, employees, agents, representatives,

consultants, attorneys, and any other persons acting under her control or on her behalf.

       3.      The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.

       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

                                                 1
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 20 of 33




Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the LIBRARY SYSTEM’s previous

electronic collection of digital materials, including ebooks, audiobooks, movies, and research

databases.

       7.      The term “KRAUSE LIST” refers to the list of books compiled and published by

Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,
teen pregnancy, violence, or LGBTQ issues.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “RESTRICT” or “RESTRICTED” refers to MATERIALS that have

been or will be moved from one library section to another or moved from their original location

to behind the front desk or any other place not readily accessible to the public.

       12.     The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

                                                  2
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 21 of 33




in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now

in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,
proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 22 of 33




       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

       18.     Unless otherwise noted, these Requests seek responsive documents in the time

period of June 2021 to present.

                                         INSTRUCTIONS
       1.      The following inspection demands seek production for inspection and copying of

all responsive DOCUMENTS in YOUR possession, custody, or control, wherever located, and

specifically includes all DOCUMENTS in the possession, custody, or control of your officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys,

accountants, investigators, and representatives.

       2.      Any non-identical copy of a DOCUMENT, including copies with notes,
highlighting, comments, or marginalia of any nature, and drafts, must be identified and produced

as a separate DOCUMENT.

       3.      If there are no DOCUMENTS responsive to a category in this inspection demand,

please state so in writing.

       4.      For each DOCUMENT that YOU decline to make available for inspection and

copying on the grounds of privilege or the attorney work product rule, provide the following

information:

               a.      State the date on which the DOCUMENT was created;

               b.      State the title of the DOCUMENT;

                                                   4
        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 23 of 33




                c.      Briefly describe the nature and contents of the DOCUMENT;

                d.      IDENTIFY each person or entity that received a copy of the DOCUMENT

                        or to whom the DOCUMENT or its contents were disclosed;

                e.      IDENTIFY the privilege or rule that YOU contend protects the

                        DOCUMENT from disclosure; and

                f.      IDENTIFY each fact on which YOU base YOUR contention that the

                        privilege or rule identified in YOUR response applies.

        5.      If any material is redacted from a DOCUMENT, indicate that in the response to

the inspection demand and state the basis for each redaction.

        6.      Please produce the original of each DOCUMENT and all its copies, if any copy is

other than identical to the original, in the order called for in the categories listed below.

        7.      If, for any reason, any of the DOCUMENTS, objects, or tangible things to be

produced pursuant to these inspection demands has been destroyed, lost, or otherwise disposed

of, state for each category the following information:

                a.      A description of the DOCUMENT, object, or tangible thing to be

                        produced. If the destroyed, lost or otherwise disposed of item is a

                        DOCUMENT, IDENTIFY the DOCUMENT by date, drafter, recipient,

                        and subject matter.
                b.      The date the DOCUMENT, object or tangible thing was lost, destroyed, or

                        disposed of.

                c.      All PERSONS who have knowledge of the loss, destruction, or disposal.

                d.      If the loss, destruction, or disposal related to an object or tangible thing,

                        IDENTIFY all DOCUMENTS that relate or refer to the loss, destruction,

                        or disposal.

        8.      Produce DOCUMENTS in their native format where applicable.




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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 24 of 33




       9.      If a DOCUMENT is responsive to a request for production and is in YOUR

control, but not in YOUR possession or custody, IDENTIFY all PERSONS with possession or

custody.

                             REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       All DOCUMENTS and COMMUNICATIONS RELATED TO any MATERIALS

currently or previously in the LIBRARY SYSTEM that allegedly contain INAPPROPRIATE

CONTENT.

REQUEST FOR PRODUCTION NO. 2:

       All DOCUMENTS and COMMUNICATIONS RELATED TO closing LIBRARY

BOARD meetings to the public.

REQUEST FOR PRODUCTION NO. 3:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the suspension and/or

termination of OVERDRIVE and YOUR consideration of other digital ebook and audiobook

platforms or collections.

REQUEST FOR PRODUCTION NO. 4:

       All DOCUMENTS SUFFICIENT to identify and COMMUNICATIONS RELATED TO

all MATERIALS that have been RESTRICTED or removed from the LIBRARY SYSTEM’s
public locations on the basis of INAPPROPRIATE CONTENT, including all DOCMENTS and

COMMUNICATIONS RELATED TO the KRAUSE LIST.

REQUEST FOR PRODUCTION NO. 5:

       All COMMUNICATIONS identifying and DOCUMENTS SUFFICIENT to identify all

MATERIALS that the LIBRARY BOARD intends or plans to RESTRICT or remove from the

LIBRARY SYSTEM in the future on the basis of INAPPROPRIATE CONTENT.

REQUEST FOR PRODUCTION NO. 6:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the criteria, policies,

and/or procedures applied by the LIBRARY BOARD and the COLLECTION REVIEW

                                             6
      Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 25 of 33




COMMITTEE in determining which MATERIALS to RESTRICT or remove from the

LIBRARY SYSTEM.




Dated: May 11, 2022                        BRAUNHAGEY & BORDEN LLP


                                           By:    /DRAFT/
                                                  Ellen V. Leonida

                                           Attorneys for Plaintiffs




                                       7
    Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 26 of 33




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



  PLAINTIFFS’ REQUESTS FOR PRODUCTION TO DEFENDANT BONNIE
                      WALLACE, SET ONE
          Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 27 of 33




       PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

       RESPONDING PARTY:              Defendant Bonnie Wallace

       SET NUMBER:                    One (1)

       Pursuant to Fed. R. Civ. P. 34, Plaintiffs hereby demand production for inspection,

photographing, and copying of the documents and tangible things described in the categories

below at the law offices of BraunHagey & Borden LLP, 351 California Street, 10th Floor, San

Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street, Austin, Texas 78701,

within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for Expedited Discovery.

       These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Defendant Bonnie

Wallace (“Defendant” or “Ms. Wallace”), or anyone representing the interests of Ms. Wallace,

becomes aware of any additional information, documents, or things sought by these requests

between the time Ms. Wallace responds and trial.

                                         DEFINITIONS

       1.      The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

       2.      The terms “YOU” and “YOUR” refer, collectively and individually, to Bonnie
Wallace and her officers, directors, principals, partners, employees, agents, representatives,

consultants, attorneys, and any other persons acting under her control or on her behalf.

       3.      The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.

       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 28 of 33




Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the LIBRARY SYSTEM’s previous

electronic collection of digital materials, including ebooks, audiobooks, movies, and research

databases.

       7.      The term “KRAUSE LIST” refers to the list of books compiled and published by

Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,
teen pregnancy, violence, or LGBTQ issues.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “RESTRICT” or “RESTRICTED” refers to MATERIALS that have

been or will be moved from one library section to another or moved from their original location

to behind the front desk or any other place not readily accessible to the public.




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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 29 of 33




       12.       The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now
in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,

proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 30 of 33




name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

       18.     Unless otherwise noted, these Requests seek responsive documents in the time

period of June 2021 to present.

                                         INSTRUCTIONS
       1.      The following inspection demands seek production for inspection and copying of

all responsive DOCUMENTS in YOUR possession, custody, or control, wherever located, and

specifically includes all DOCUMENTS in the possession, custody, or control of your officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys,
accountants, investigators, and representatives.

       2.      Any non-identical copy of a DOCUMENT, including copies with notes,

highlighting, comments, or marginalia of any nature, and drafts, must be identified and produced

as a separate DOCUMENT.

       3.      If there are no DOCUMENTS responsive to a category in this inspection demand,

please state so in writing.

       4.      For each DOCUMENT that YOU decline to make available for inspection and

copying on the grounds of privilege or the attorney work product rule, provide the following

information:

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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 31 of 33




                a.      State the date on which the DOCUMENT was created;

                b.      State the title of the DOCUMENT;

                c.      Briefly describe the nature and contents of the DOCUMENT;

                d.      IDENTIFY each person or entity that received a copy of the DOCUMENT

                        or to whom the DOCUMENT or its contents were disclosed;

                e.      IDENTIFY the privilege or rule that YOU contend protects the

                        DOCUMENT from disclosure; and

                f.      IDENTIFY each fact on which YOU base YOUR contention that the

                        privilege or rule identified in YOUR response applies.

        5.      If any material is redacted from a DOCUMENT, indicate that in the response to

the inspection demand and state the basis for each redaction.

        6.      Please produce the original of each DOCUMENT and all its copies, if any copy is

other than identical to the original, in the order called for in the categories listed below.

        7.      If, for any reason, any of the DOCUMENTS, objects, or tangible things to be

produced pursuant to these inspection demands has been destroyed, lost, or otherwise disposed

of, state for each category the following information:

                a.      A description of the DOCUMENT, object, or tangible thing to be

                        produced. If the destroyed, lost or otherwise disposed of item is a
                        DOCUMENT, IDENTIFY the DOCUMENT by date, drafter, recipient,

                        and subject matter.

                b.      The date the DOCUMENT, object or tangible thing was lost, destroyed, or

                        disposed of.

                c.      All PERSONS who have knowledge of the loss, destruction, or disposal.

                d.      If the loss, destruction, or disposal related to an object or tangible thing,

                        IDENTIFY all DOCUMENTS that relate or refer to the loss, destruction,

                        or disposal.

        8.      Produce DOCUMENTS in their native format where applicable.

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        Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 32 of 33




       9.      If a DOCUMENT is responsive to a request for production and is in YOUR

control, but not in YOUR possession or custody, IDENTIFY all PERSONS with possession or

custody.

                             REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       All DOCUMENTS and COMMUNICATIONS RELATED TO any MATERIALS

currently or previously in the LIBRARY SYSTEM that allegedly contain INAPPROPRIATE

CONTENT.

REQUEST FOR PRODUCTION NO. 2:

       All DOCUMENTS and COMMUNICATIONS RELATED TO closing LIBRARY

BOARD meetings to the public.

REQUEST FOR PRODUCTION NO. 3:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the suspension and/or

termination of OVERDRIVE and YOUR consideration of other digital ebook and audiobook

platforms or collections.

REQUEST FOR PRODUCTION NO. 4:

       All DOCUMENTS SUFFICIENT to identify and COMMUNICATIONS RELATED TO

all MATERIALS that have been RESTRICTED or removed from the LIBRARY SYSTEM’s
public locations on the basis of INAPPROPRIATE CONTENT, including all DOCMENTS and

COMMUNICATIONS RELATED TO the KRAUSE LIST.

REQUEST FOR PRODUCTION NO. 5:

       All COMMUNICATIONS identifying and DOCUMENTS SUFFICIENT to identify all

MATERIALS that the LIBRARY BOARD intends or plans to RESTRICT or remove from the

LIBRARY SYSTEM in the future on the basis of INAPPROPRIATE CONTENT.

REQUEST FOR PRODUCTION NO. 6:

       All DOCUMENTS and COMMUNICATIONS RELATED TO the criteria, policies,

and/or procedures applied by the LIBRARY BOARD and the COLLECTION REVIEW

                                             6
      Case 1:22-cv-00424-RP Document 23-3 Filed 05/11/22 Page 33 of 33




COMMITTEE in determining which MATERIALS to RESTRICT or remove from the

LIBRARY SYSTEM.




Dated: May 11, 2022                        BRAUNHAGEY & BORDEN LLP


                                           By:    /DRAFT/
                                                  Ellen V. Leonida

                                           Attorneys for Plaintiffs




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